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  VIRGINIA:

                          IN THE CIRCUIT COURT FOR THE CITY OF HAMPTON

  LARRY D. LEWIS,

             Plaintiff,

  v.                                                   Civil Action No. CL14-2009

  J.C. Penney Company, Inc. etal.,

         Defendants.

                                              ANSWER

         COMES NOW the defendant, J.C. PENNEY COMPANY, INC., by counsel, and
  in response to the Complaint filed by plaintiff, states the following:
         1.          Upon information and belief, Defendant admits the allegation in paragraph
  1 of plaintiffs Complaint.

         2.          Defendant denies the allegation in paragraph 2 ofplaintiffs Complaint.
  Defendant affirmatively states that J.C. Penney Corporation, Inc. operates and
  maintains a retail location at 2071 Coliseum Drive, Hampton, Virginia.
         3.         Defendant lacks sufficient information to admit or deny the allegations in
  paragraph 3 of plaintiffs Complaint and therefore denies same and demands strict proof
  thereof.

         4.         Defendant denies the allegations in paragraph 4 ofplaintiffs Complaint as
  phrased. Defendant affirmatively states that upon information and belief, Plaintiffwas in
  J.C. Penney Corporation Inc.'s retail store located at2071 Coliseum Drive, Hampton, VA
  23666 on or about November 30, 2012.




                                                                                                 EXHIBIT
                                                                                                  B
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         5.    The allegations in paragraph 5 of plaintiffs complaint are legal conclusions

  and not factual averments to which a response is required.

         6.    Defendant denies the allegation in paragraph 6 of plaintiffs Complaint.

  Defendant affirmatively states that J.C. Penney Corporation, Inc. operates and

  maintains a retail location at 2071 Coliseum Drive, Hampton, Virginia.

         7.    Defendant denies the allegation in paragraph 7 of plaintiffs Complaint.
  Defendantaffirmatively states that J.C. Penney Corporation, Inc. operates and
  maintains a retail location at 2071 Coliseum Drive, Hampton, Virginia.

        8.     The allegations in paragraph 8 of plaintiffs complaint are statements of

  law and not factual averments to which a response is required. To the extent a

  response is required; Defendant denies that it is an accurate statement of law.

        9.     Defendant denies the allegations in paragraph 9 of Plaintiffs complaint.

        10.    Defendant denies the allegations in paragraph 10 of Plaintiffs complaint.
        11.    Defendant denies the allegations in paragraph 11 of Plaintiffs complaint.
        12.    Defendant denies the allegations in paragraph 12 of Plaintiffs complaint.
        13.    Defendant denies the allegations in paragraph 13 of Plaintiffs complaint.
        14.    Defendant lacks sufficient information to admit or deny the allegations in
  paragraph 14 of plaintiffs Complaint and therefore denies same.

        15.    Defendant lacks sufficient information to admitor deny the allegations in
  paragraph 15 of plaintiffs Complaint and therefore denies same.

        16.    Defendant lacks sufficient information to admit or deny the allegations in
  paragraph 16 of plaintiffs Complaint and therefore denies same.
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         17.     Defendant lacks sufficient information to admit or deny the allegations in

  paragraph 17 of plaintiffs Complaint and therefore denies same.

         18.     Defendant lacks sufficient information to admit or deny the allegations in

  paragraph 18 of plaintiffs Complaint and therefore denies same.

         19.     Defendant lacks sufficient information to admit or deny the allegations in
  paragraph 19 of plaintiffs Complaint and therefore denies same.

         20.     Defendant lacks sufficient information to admit or deny the allegations in
  paragraph 21 of plaintiffs Complaint and therefore denies same.

         21.    Defendant lacks sufficient information to admit or deny the allegations in

  paragraph 21 of plaintiffs Complaint and therefore denies same.

         22.    Defendant denies the allegations in paragraph 22 of plaintiffs Complaint.
         23.    Defendant denies the allegations in paragraph 23 of plaintiffs Complaint.

         24.    Defendant denies the allegations in paragraph 24 of plaintiffs Complaint.
         25.    Defendant denies it is indebted to plaintiff in the amount of $100,000.00 or

  in any amount.

         26.    Defendant will rely upon the affirmative defenses of contributory
  negligence, negligence of others, and the failure to mitigate damages.

         27.    To the extent that any allegation is not specifically admitted, it is denied.

         28.    Defendant reserves the right to assert additional defenses to this cause,
  affirmative or otherwise, if it is later determined that such defense is available to it

        WHEREFORE, the Defendant, J.C. Penney Company, Inc., by Counsel, prays
 that this Court dismiss the Complaint filed by the plaintiff and enter judgment in its favor
 allowing for attorney's fees and costs expended on its behalf.
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                                              J.C. PENNEY COMPANY, INC.




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and accurate copy of the foregoing Answer was
  mailed first class, postage prepaid, this 24th day of November, 2014, to:

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